          Case 07-11516-RGM                   Doc 44           Filed 12/17/07           Entered 12/17/07 11:16:19                  Desc Main
                       UNITED STATES  BANKRUPTCY
                                 Document Page 1 of 1 COURT
                                                                        for the
                                                               Eastern District of Virginia
                                                                  Alexandria Division

    MICHELLE NAOMI CAMPBELL-THOMAS                                                                                    Case No.: 07-11516-RGM
    43118 ROCKY RIDGE CT.                                                                                                SS #1: XXX-XX-7401
    LEESBURG, VA 20176


                                                 FINAL REPORT AND ACCOUNT
     This case was       MO. DAY YR.                      The Plan was           MO. DAY YR.                  The Case was            MO. DAY YR.
     commenced on        06    14     07                  confirmed on                                        concluded on             12    03   07
     Dismissed Prior To Confirmation
RECEIPTS: Amount paid to the Trustee by or for the Debtor for benefit of creditors.                                               $                 350.00
DISBURSEMENTS TO CREDITORS                                                                                    AMOUNT PAID                    BALANCE
                                                         CLAIM                       AMOUNT
                                                                                                                                               DUE
                              CREDITOR'S NAME           NUMBER CLASSIFICATION        ALLOWED           PRINCIPAL          INTEREST

FAIRFAX COUNTY                                           001     Priority                2,211.77              0.00                0.00            2,211.77
INTERNAL REVENUE SERVICE                                 002     Priority                2,342.87              0.00                0.00            2,342.87
COUNTY OF LOUDOUN, VIRGIN                                003     Priority                4,292.63              0.00                0.00            4,292.63
VIRGINIA DEPT. OF TAXATIO                                004     Unsecured                 506.22              0.00                0.00              506.22
VIRGINIA DEPT. OF TAXATIO                                004     Priority                1,061.23              0.00                0.00            1,061.23
AMERICA'S SERVICING                                      005     Ignore                      0.00              0.00                0.00                0.00
DEUTSCHE BANK NATIONAL TR                                006     Secured                22,946.84              0.00                0.00           22,946.84
ADT SECURITY SYSTEMS, INC                                007     Unsecured                   0.00              0.00                0.00            Not Filed
COMMONWEALTH EMERGENCY                                   008     Unsecured                   0.00              0.00                0.00            Not Filed
DIRECT TV                                                009     Unsecured                   0.00              0.00                0.00            Not Filed
FAIRFAX RADIOLOGICAL CONS                                010     Unsecured                   0.00              0.00                0.00            Not Filed
LANSDOWNE ON THE POTOMAC                                 011     Unsecured                   0.00              0.00                0.00            Not Filed
QUEST DIAGNOSTICS, INC.                                  012     Unsecured                   0.00              0.00                0.00            Not Filed
SOUTHERN POLYTECH STATE                                  013     Unsecured                   0.00              0.00                0.00            Not Filed
ROUNDUP FUNDING, LLC                                     014     Unsecured                 375.73              0.00                0.00              375.73
MICHELLE NAOMI CAMPBELL-T                                999     Refund                    350.00            350.00                0.00                0.00

SUMMARY OF CLAIMS ALLOWED AND PAID:

                     SECURED               PRIORITY            GENERAL               LATE              SPECIAL             TOTAL
AMOUNT ALLOWED         22,946.84              9,908.50                881.95                  0.00           350.00         34,087.29         TOTAL PAID
                                                                                                                                              PRINCIPAL
 PRINCIPAL PAID             0.00                  0.00                  0.00                  0.00           350.00            350.00        AND INTEREST

 INTEREST PAID                0.00                 0.00                  0.00                 0.00             0.00                   0.00          350.00
OTHER DISBURSEMENT UNDER ORDER OF COURT
                               DEBTOR'S ATTORNEY                                  FEE ALLOWED                                 FEE PAID

                           NATHAN FISHER, ESQ.                                         3,000.00                                    0.00
COURT COSTS AND                               ADDITIONAL CHARGES                                TRUSTEE
 OTHER EXPENSES       FILING FEE                                                                                           OTHER
                                              CLERK'S           .25 EACH CLAIM        EXPENSE          COMPENSATION
OF ADMINISTRATION    AND DEPOSIT             CHARGES                OVER 10            FUND                FUND            COST

                               0.00                   0.00                                    0.00             0.00               0.00                 0.00




                                                                                                        /s/ Gerald M. O'Donnell

                                                                                                        Gerald M. O'Donnell




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